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                                            Exhibit A

                     Summary of Fees by Individual for the Application Period




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                SUMMARY OF FEES BY INDIVIDUAL FOR THE APPLICATION PERIOD
                  (FEBRUARY 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024) 1

                                                                     Year of                                Total
                                                    Year of                                                                  Total
   Timekeeper Name                Position                          Law School         Hourly Rate          Hours
                                                   Admission                                                              Compensation
                                                                    Graduation                              Billed
Ansari, Mehdi                Partner                   2009            2008                $2,375.00        10.80            $25,650.00
Bander, Jeannette E.         Partner                   2012            2012                $2,295.00        12.10            $27,769.50
Beatty, Chris                Partner                   2005            2004                $2,375.00         2.40             $5,700.00
Beller, Benjamin S.          Partner                   2014            2013               $848.00**          3.50             $2,968.00
Beller, Benjamin S.          Partner                   2014            2013                $1,695.00        69.00           $116,955.00
Birke, Max                   Partner                   2000            1999                $2,375.00         0.80             $1,900.00
Bromley, James L.            Partner                   1990            1989              $1,188.00**         7.50             $8,910.00
Bromley, James L.            Partner                   1990            1989                $2,375.00        152.80          $362,900.00
Cohen, Audra D.              Partner                   1993            1992                $2,375.00        28.00            $66,500.00
Croke, Jacob M.              Partner                   2011            2010                $2,335.00        559.30        $1,305,965.50
De Leeuw, Marc               Partner                   1992            1992              $1,188.00**         4.50             $5,346.00
De Leeuw, Marc               Partner                   1992            1992                $2,375.00        188.60          $447,925.00
de Vito Piscicelli,
Oderisio                     Partner                   1998             1998               $2,375.00        171.80          $408,025.00
DeCamp, Justin J.            Partner                   2006             2005             $1,188.00**         0.50               $594.00
DeCamp, Justin J.            Partner                   2006             2005               $2,375.00        164.20          $389,975.00
Diamond, Eric M.             Partner                   2011             2010               $2,335.00         0.30               $700.50
Dietderich, Andrew G.        Partner                   1997             1995             $1,188.00**         6.70             $7,959.60
Dietderich, Andrew G.        Partner                   1997             1995               $2,375.00        405.30          $962,587.50
Dunne, Christopher J.        Partner                   2006             2005             $1,188.00**         3.50             $4,158.00
Dunne, Christopher J.        Partner                   2006             2005               $2,375.00        247.90          $588,762.50
Ehrenberg, Stephen           Partner                   2003             2002               $2,375.00        141.90          $337,012.50
Eitel, Mitchell S.           Partner                   1988             1987               $2,375.00         1.10             $2,612.50
Friedlander, Nicole          Partner                   2002             2001               $2,375.00         9.80            $23,275.00
Glueckstein, Brian D.        Partner                   2004             2003             $1,188.00**        12.80            $15,206.40
Glueckstein, Brian D.        Partner                   2004             2003               $2,375.00        673.00        $1,598,375.00
Hariton, David P.            Partner                   1986             1985               $2,375.00        518.30        $1,230,962.50
Hatano, Keiji                Partner                   2000             2000               $2,375.00         2.00             $4,750.00
Hochberg, Jeffrey D.         Partner                   1996             1995               $2,375.00         0.40               $950.00
Holley, Steven L.            Partner                   1984             1983               $2,375.00         7.50            $17,812.50
Howard, Christopher J.       Partner                   1996             1991               $2,375.00        26.60            $63,175.00
Jones, Craig                 Partner                   1996             1996               $2,375.00         1.50             $3,562.50
Kadel Jr., Eric J.           Partner                   2000             1997               $2,375.00         0.60             $1,425.00
Karmin, Nicolas              Partner                   2015             2014               $1,975.00         0.50               $987.50
Kent, Benjamin S.D.          Partner                   2010             2009               $2,160.00         0.80             $1,728.00
Kranzley, Alexa J.           Partner                   2009             2008             $1,080.00**         2.00             $2,160.00
Kranzley, Alexa J.           Partner                   2009             2008               $2,160.00        426.30          $920,808.00
Levin, Sharon Cohen          Partner                   1985             1985               $2,375.00         8.00            $19,000.00
Lewis, Anthony J.            Partner                   2004             2003               $2,335.00        70.30           $164,150.50

        1
            For certain timekeepers, his or her individual rate increased during the relevant fee period as a result of
            matriculation.



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                                                        Year of                     Total
                                            Year of                                              Total
  Timekeeper Name             Position                 Law School   Hourly Rate     Hours
                                           Admission                                          Compensation
                                                       Graduation                   Billed
Li, Ken                  Partner             2014         2013         $2,160.00     47.60       $102,816.00
Lloyd, Colin D.          Partner             2008         2007         $2,375.00      0.30           $712.50
Lloyd, Jameson S.        Partner             2014         2013         $2,160.00     22.90        $49,464.00
McArthur, Kathleen S.    Partner             2008         2007         $2,375.00      0.80         $1,900.00
McDonald, James M.       Partner             2008         2007         $2,375.00     49.80       $118,275.00
Mehta, Nirav N.          Partner             2012         2011         $1,975.00     43.30        $85,517.50
Menillo, Nicholas F.     Partner             2013         2012         $2,275.00     26.40        $60,060.00
O'Neill, Rita-Anne       Partner             2004         2004         $2,375.00     25.40        $60,325.00
Ostrager, Ann-Elizabeth  Partner             2011         2009         $2,375.00      0.10           $237.50
Peikin, Steven R.        Partner             1992         1991         $2,375.00     13.20        $31,350.00
Reeder III, Robert W.    Partner             1985         1984         $2,375.00      0.90         $2,137.50
Schollmeyer, Mario       Partner             2012         2014         $1,975.00     10.80        $21,330.00
Simmons, Rebecca J.      Partner             1992         1991         $2,375.00      1.20         $2,850.00
Simpson, Evan S.         Partner             2011         2010       $1,168.00**     30.00        $35,040.00
Simpson, Evan S.         Partner             2011         2010         $2,335.00    255.20       $595,892.00
Wertheim, Frederick      Partner             1988         1987         $2,375.00      0.20           $475.00
Wheeler, Isaac J.        Partner             2010         2009         $2,375.00      0.30           $712.50
Wheeler, Stephanie G.    Partner             1994         1993         $2,375.00    304.80       $723,900.00
Wu, Mimi                 Partner             2016         2015         $1,695.00     42.40        $71,868.00
Partner Total                                                                      4,818.50   $11,114,066.50
Buckholz, Robert E.      Of Counsel          1980         1979         $2,375.00      0.80         $1,900.00
Gilberg, David J.        Of Counsel          1981         1981         $2,375.00      6.00        $14,250.00
Leventhal, Shari D.      Of Counsel          1989         1988         $2,295.00      0.60         $1,377.00
Tomaino Jr., Michael T.  Of Counsel          1990         1989         $2,375.00    145.50       $345,562.50
Williams, Hilary M.      Of Counsel          1998         1996         $2,295.00      2.30         $5,278.50
Clarke, Stephen H.       Special Counsel     2011         2010         $1,675.00     35.60        $59,630.00
Harsch, Bradley A.       Special Counsel     1998         1998         $1,895.00    423.00       $801,585.00
Jensen, Christian P.     Special Counsel     2016         2015         $1,675.00      0.40           $670.00
Logan, Ryan P.           Special Counsel     2007         2007         $1,895.00      6.60        $12,507.00
Long, Sarah Remmer       Special Counsel     2015         2014         $1,860.00      0.80         $1,488.00
O'Reilly, Brian P.       Special Counsel     2003         2002         $1,860.00      0.60         $1,116.00
Popovsky, Mark A.        Special Counsel     2012         2011         $1,675.00     73.30       $122,777.50
Queen, Eric H.           Special Counsel     1977         1976         $1,860.00      0.10           $186.00
Russell, Tracey E.       Special Counsel     2002         2001         $1,860.00      1.70         $3,162.00
Sedlak, Jonathan M.      Special Counsel     2005         2004         $1,675.00    186.60       $312,555.00
Smith, Bradley P.        Special Counsel     1998         1997         $1,895.00      0.10           $189.50
Sutton, Jennifer L.      Special Counsel     2004         2004         $1,895.00     10.20        $19,329.00
Wagener, William H.      Special Counsel     2004         2003         $1,675.00     65.40       $109,545.00
Yeargan, Shane R.        Special Counsel     2014         2013         $1,675.00     34.10        $57,117.50
Of Counsel and Special Counsel Total                                                993.70     $1,870,225.50
                         Practice Area
Benton, Simone A.        Associate           2001         2008         $1,475.00     1.00          $1,475.00
                         Practice Area
Carrier, Rita M.         Associate           1984         1984         $1,450.00    43.30        $62,785.00
Mendola-D'Andrea,        Practice Area
Lisabeth A.              Associate           2006         2005           $860.00     0.40           $344.00


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                                                           Year of                    Total
                                              Year of                                             Total
  Timekeeper Name               Position                  Law School   Hourly Rate    Hours
                                             Admission                                         Compensation
                                                          Graduation                  Billed
                             Practice Area
Xiang, Shihui                Associate         2020         2019            $860.00   59.70       $51,342.00
Practice Area Associate                                                               104.40     $115,946.00
Abada, Danielle B.           Associate          2018        2017         $1,530.00     0.40          $612.00
Anfang, Michael A.           Associate          2024        2023           $850.00    132.80     $112,880.00
Baker, Nicholas R.           Associate          2019        2018         $1,490.00     0.70        $1,043.00
Barnes, Grier E.             Associate          2022        2021         $1,295.00    34.70       $44,936.50
Bauer, Phinneas G.           Associate          2024        2023           $850.00    246.50     $209,525.00
Bennett, Mark C.             Associate          2018        2017         $765.00**     2.90        $2,218.50
Bennett, Mark C.             Associate          2018        2017         $1,530.00    375.20     $574,056.00
Bierlein, Johanna Ruth       Associate          2024        2023           $850.00    158.50     $134,725.00
Blaisdell, Jackson T.        Associate          2023        2023           $850.00    163.00     $138,550.00
Brod, Andrew B.              Associate          2023        2022           $995.00    357.80     $356,011.00
Campbell, Craig A.           Associate          2023        2023           $850.00    88.20       $74,970.00
Capogna, Alexander H.        Associate          2021        2020         $1,395.00     1.30        $1,813.50
Ciafone, Jacob W.            Associate          2024        2023           $850.00    188.00     $159,800.00
Cockle, Hannah               Associate          2021        2021         $1,295.00     0.30          $388.50
Courroy, Arthur D.           Associate          2023        2022           $995.00    83.40       $82,983.00
De Vries, Saskia E.L.        Associate          2024        2023           $850.00    70.00       $59,500.00
Donnelly, Kathleen T.        Associate          2019        2018         $1,490.00    163.30     $243,317.00
Enriquez-Sarano, Louis       Associate          2022        2021         $1,295.00    214.60     $277,907.00
Erdogan, Batuhan             Associate       in process     2023           $850.00     0.30          $255.00
Ferdinandi, Federico         Associate          2021        2019         $1,450.00    111.20     $161,240.00
Fevrier, Adam                Associate          2024        2022           $995.00     1.50        $1,492.50
Flegenheimer, Zoeth M.       Associate          2019        2018         $745.00**     1.20          $894.00
Flegenheimer, Zoeth M.       Associate          2019        2018         $1,490.00    262.00     $390,380.00
Foote, Isaac S.              Associate          2023        2022           $498.00     7.10        $3,535.80
Foote, Isaac S.              Associate          2023        2022           $995.00    192.70     $191,736.50
Fradin, Daniel E.            Associate          2023        2022           $995.00    37.50       $37,312.50
Friedman, Mitchell N.        Associate          2019        2018         $1,490.00     1.90        $2,831.00
Fulton, Sean P.              Associate          2016        2016         $1,575.00    75.20      $118,440.00
Goldman, Jessica H.          Associate          2020        2019         $1,450.00     1.30        $1,885.00
Greene, Brett M.             Associate          2024        2023           $850.00    15.20       $12,920.00
Haase, Michael A.            Associate          2021        2017         $1,530.00    16.40       $25,092.00
Han, Yaqi                    Associate          2020        2019         $1,450.00     1.90        $2,755.00
Handelsman, Dylan M.         Associate          2019        2018         $1,490.00    51.90       $77,331.00
Hearn, Zachary W.M.          Associate          2021        2020         $1,395.00     6.30        $8,788.50
Hill, Tyler W.               Associate          2017        2016         $1,575.00    160.20     $252,315.00
Hodges, Christian T.         Associate          2023        2022           $995.00     1.50        $1,492.50
Holland, Alexander S.        Associate          2021        2020         $1,395.00    265.80     $370,791.00
Hoover, Ruth H.              Associate          2022        2022           $995.00    92.00       $91,540.00
Jang, James                  Associate          2023        2022           $995.00     0.10           $99.50
Kapoor, Julie G.             Associate          2018        2016         $765.00**    20.00       $15,300.00
Kapoor, Julie G.             Associate          2018        2016         $1,530.00    282.80     $432,684.00
Keeley, Julian M.            Associate          2023        2022           $995.00    21.40       $21,293.00
Kerin, Meaghan Chas          Associate          2019        2018         $1,490.00    15.20       $22,648.00


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                                                        Year of                    Total
                                            Year of                                            Total
  Timekeeper Name               Position               Law School   Hourly Rate    Hours
                                           Admission                                        Compensation
                                                       Graduation                  Billed
Kewlani, Kanishka            Associate       2024         2023          $850.00    341.80     $290,530.00
Kim, HyunKyu                 Associate       2022         2020        $1,395.00    190.10     $265,189.50
Kyle, J. Carrington          Associate       2023         2023          $850.00     6.20        $5,270.00
Lavin, Phoebe A.             Associate       2023         2022          $995.00    379.20     $377,304.00
Lee, Jinny                   Associate       2023         2022          $995.00    62.90       $62,585.50
Levin, Elizabeth D.          Associate       2021         2020        $1,395.00     7.20       $10,044.00
Levin, Lana V.               Associate       2023         2022          $995.00     2.20        $2,189.00
Levine, Aaron M.             Associate       2018         2017        $1,530.00    258.30     $395,199.00
Li, Alexandra                Associate       2023         2023          $850.00    217.20     $184,620.00
Li, Samantha                 Associate       2022         2021        $1,295.00     8.60       $11,137.00
Lim, KJ                      Associate       2019         2020        $1,490.00    12.90       $19,221.00
Liu, Sienna                  Associate       2021         2020        $1,395.00    19.30       $26,923.50
Loh, Esther L.S.             Associate       2023         2022          $995.00     4.40        $4,378.00
MacDonald, Jeffrey W.        Associate       2018         2017        $1,530.00    404.50     $618,885.00
Mandel, Robert H.            Associate       2024         2023          $850.00     7.60        $6,460.00
Masoudi, Yasmin              Associate       2023         2022          $995.00     5.90        $5,870.50
Materni, Michele C.          Associate       2017         2016        $1,575.00     8.70       $13,702.50
Mayberry, Keila M.           Associate       2023         2022          $995.00    404.60     $402,577.00
Mazumdar, Aneesa             Associate       2023         2022          $995.00    204.80     $203,776.00
Mazzarelli, Samantha M.      Associate       2024         2023          $850.00    86.80       $73,780.00
Merriam, William J.          Associate       2024         2023          $850.00    117.10      $99,535.00
Middleditch, Hattie R.       Associate       2014         2017        $1,530.00    37.70       $57,681.00
Miller, Nicole A.            Associate       2023         2022          $995.00    23.40       $23,283.00
Millet, Tatum E.             Associate       2023         2022          $995.00    146.00     $145,270.00
Mishkin, Sarah H.            Associate       2019         2018        $1,490.00     1.20        $1,788.00
O'Hara, Daniel P.            Associate       2021         2020        $698.00**     4.00        $2,792.00
O'Hara, Daniel P.            Associate       2021         2020        $1,395.00    421.90     $588,550.50
Pacia, Gabrielle N.          Associate       2021         2020        $1,395.00     6.10        $8,509.50
Pan, Yinran                  Associate       2022         2021        $1,295.00     1.00        $1,295.00
Paranyuk, Julia E.           Associate       2023         2021        $1,295.00    21.60       $27,972.00
Patton, James A.             Associate       2022         2021        $1,295.00    65.60       $84,952.00
Pe, Jessica L.               Associate       2023         2023          $850.00    13.20       $11,220.00
Plamondon, Marie-Ève         Associate       2020         2019        $1,450.00     3.70        $5,365.00
Polanun, Jean                Associate       2024         2023          $850.00    146.40     $124,440.00
Profeta, Stephen J.          Associate       2022         2021        $1,295.00     0.20          $259.00
Rosenfeld, Jared H.          Associate       2019         2018        $1,490.00    136.20     $202,938.00
Rosenthal, Samantha B.       Associate       2022         2020        $1,395.00    46.90       $65,425.50
Ross, Luke W.                Associate       2023         2022          $995.00    313.80     $312,231.00
Roze, Ekaterina              Associate       2018         2017        $1,530.00     0.60          $918.00
Ruan, Ting                   Associate       2023         2023          $995.00    30.30       $30,148.50
Rust, Maximilian W.G.        Associate       2023         2022          $995.00    35.50       $35,322.50
Sadat, Medina M.             Associate       2021         2020        $1,395.00    10.50       $14,647.50
Saevitzon, Jamie G.          Associate       2024         2023          $850.00    355.70     $302,345.00
Scales, Manon T.             Associate       2016         2016        $1,575.00     5.40        $8,505.00
Schaaff, Harold J.           Associate       2023         2023          $850.00    37.00       $31,450.00
Schutt, Robert P.            Associate       2023         2022          $995.00    46.70       $46,466.50


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                                                               Year of                      Total
                                                  Year of                                                Total
  Timekeeper Name                Position                     Law School   Hourly Rate      Hours
                                                 Admission                                            Compensation
                                                              Graduation                    Billed
Schwartz, Maxwell E.         Associate              2020         2019        $1,450.00      55.00         $79,750.00
Setren, Kira R.              Associate           in process      2023          $850.00      37.60         $31,960.00
Shehada, Emile R.            Associate              2023         2022          $995.00      171.20       $170,344.00
Shure, Harrison B.           Associate              2024         2023          $850.00      205.50       $174,675.00
Simpson, James G.            Associate              2017         2016        $1,575.00       1.20          $1,890.00
Stern, Corey J.              Associate              2023         2022          $995.00       9.10          $9,054.50
Strand, Matthew L.           Associate              2020         2020        $698.00**       1.20            $837.60
Strand, Matthew L.           Associate              2020         2020        $1,395.00      297.80       $415,431.00
Sullivan, Charles H.         Associate              2019         2018        $1,490.00      144.60       $215,454.00
Toobin, Adam J.              Associate              2023         2022          $995.00      30.40         $30,248.00
Van Allen, Leanne M.         Associate              2022         2021        $1,295.00       8.20         $10,619.00
Van Holten, Luke H.          Associate              2021         2020        $1,395.00      143.80       $200,601.00
Vickers, Michelle A.         Associate              2015         2015        $1,575.00       2.90          $4,567.50
Wadhawan, Subhah             Associate              2024         2023          $850.00      339.20       $288,320.00
Wang, Lisa V.                Associate           in process      2023          $850.00      147.50       $125,375.00
Weinberg Crocco, Fabio       Associate              2011         2017        $1,530.00      99.40        $152,082.00
Xu, Sam                      Associate              2024         2023          $850.00      14.00         $11,900.00
Yu, Meng                     Associate              2021         2020        $1,395.00      29.60         $41,292.00
Zahn, Arnold                 Associate              2023         2023          $850.00      328.90       $279,565.00
Zhang, Naiquan               Associate              2023         2022          $995.00      139.30       $138,603.50
Zonenshayn, Benjamin         Associate              2023         2022          $995.00      305.20       $303,674.00
Cuesta Garayoa, Álvaro       Visiting Lawyer        2020         2019          $850.00      72.00         $61,200.00
U Jin, Nicholas              Trainee Solicitor   in process      2023          $550.00      16.20          $8,910.00
Associate Total                                                                           11,184.90   $12,689,591.90
Lawyers Total                                                                             17,101.50   $25,789,829.90
Baldini, Michael X.          Paralegal                                           $0.00*     52.90              $0.00
Bjarnason, Maxim H.          Paralegal                                          $450.00     15.50          $6,975.00
Bowden, Karen E.             Paralegal                                          $650.00      4.30          $2,795.00
Brice, Mac L.                Paralegal                                           $0.00*     14.50              $0.00
Brice, Mac L.                Paralegal                                          $450.00     41.00         $18,450.00
Chen, Sophia                 Paralegal                                           $0.00*     20.30              $0.00
Chen, Sophia                 Paralegal                                          $650.00     69.40         $45,110.00
Chiu, Jeffrey H.             Paralegal                                          $650.00      4.00          $2,600.00
Ghatalia, Priyanka R.        Paralegal                                           $0.00*     141.50             $0.00
Kohata, Michiko              Paralegal                                          $650.00      1.80          $1,170.00
Kopp, Emily A.               Paralegal                                           $0.00*     65.00              $0.00
Kopp, Emily A.               Paralegal                                          $450.00     14.40          $6,480.00
Menin, Raina A.              Paralegal                                          $450.00      6.20          $2,790.00
Ontiveros, Virginia E.       Paralegal                                           $0.00*     80.00              $0.00
Purcell, Halloran N.         Paralegal                                          $565.00      6.00          $3,390.00
Pytosh, Jordan A.            Paralegal                                           $0.00*     53.40              $0.00
Rosario, Dario A.            Paralegal                                          $650.00      1.60          $1,040.00
Rosen, Celia S.              Paralegal                                           $0.00*     52.90              $0.00
Sami, Dima M.                Paralegal                                          $450.00      1.00            $450.00
Schlossberg, Harrison        Paralegal                                           $0.00*      5.10              $0.00



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                                                            Year of                      Total
                                                Year of                                              Total
   Timekeeper Name              Position                   Law School   Hourly Rate      Hours
                                               Admission                                          Compensation
                                                           Graduation                    Billed
Schlossberg, Harrison        Paralegal                                       $565.00     19.00       $10,735.00
Shahnazary, Victoria G.      Paralegal                                       $565.00     19.70       $11,130.50
Smusz, Nicholas              Paralegal                                        $0.00*     56.70            $0.00
Vasylyk, Natalia             Paralegal                                        $0.00*     12.80            $0.00
West, Molly E.               Paralegal                                       $565.00      0.50          $282.50
Wiley, Jack T.               Paralegal                                        $0.00*     52.20            $0.00
Williams, Thursday K.        Paralegal                                       $450.00      2.20          $990.00
Yamasaki, Sonoko             Paralegal                                       $650.00      1.00          $650.00
                             Legal Analyst -
Abad, Bonifacio J.           Litigation                                      $650.00     53.90       $35,035.00
                             Legal Analyst -
Ahmed, Fareed                Litigation                                      $650.00     36.50       $23,725.00
                             Legal Analyst -
Arebamen, Ehi G.             Litigation                                      $650.00     49.20       $31,980.00
                             Legal Analyst -
Fukui, Terry M.              Litigation                                         $0.00*   46.10            $0.00
                             Legal Analyst -
Fukui, Terry M.              Litigation                                      $650.00     174.30     $113,295.00
                             Legal Analyst -
Hazard, Joshua M.            Litigation                                      $650.00     185.70     $120,705.00
                             Legal Analyst -
Hewitson, Sally              Litigation                                      $650.00     202.60     $131,690.00
                             Legal Analyst -
Johnson, Sherry T.           Litigation                                      $650.00     28.50       $18,525.00
                             Legal Analyst -
Maratheftis, Georgia         Litigation                                      $650.00     27.00       $17,550.00
                             Legal Analyst -
Perry, Robin                 Litigation                                      $650.00     17.90       $11,635.00
                             Legal Analyst -
Ragnanan, Nicolette S.       Litigation                                      $650.00     153.30      $99,645.00
                             Legal Analyst -
Samuel, Dawn C.              Litigation                                      $650.00     318.90     $207,285.00
                             Legal Analyst -
Zhong, Shan                  Litigation                                         $0.00*   95.00            $0.00
                             Legal Analyst -
McMahon, Mary R.             Discovery                                       $650.00     25.20       $16,380.00
                             Electronic
Cabrera, Ismael              Discovery                                       $550.00      0.50         $275.00
                             Electronic
Fanning, Carrie R.           Discovery                                       $550.00      0.50         $275.00
                             Electronic
Gilday, Joseph F.            Discovery                                       $550.00     98.80       $54,340.00
                             Electronic
Hossein, Saud M.             Discovery                                       $550.00      7.60        $4,180.00
                             Electronic
Lopez, Nathaniel S.          Discovery                                       $550.00      9.50        $5,225.00


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                                                             Year of                     Total
                                                 Year of                                               Total
  Timekeeper Name                Position                   Law School   Hourly Rate     Hours
                                                Admission                                           Compensation
                                                            Graduation                   Billed
                             Electronic
Masurka, Evan R.             Discovery                                        $550.00     1.00            $550.00
                             Electronic
Mian, Ahmed A.               Discovery                                        $550.00     1.30            $715.00
                             Electronic
Newman, Eric M.              Discovery                                        $550.00    12.40           $6,820.00
                             Electronic
Walther, Wayne M.            Discovery                                        $550.00    34.90         $19,195.00
                             Electronic
Wolowski, Nicholas D.        Discovery                                        $550.00    59.50         $32,725.00
                             Electronic
Ybanez, Jecamiah M.          Discovery                                        $525.00    20.20         $10,605.00
                             Electronic
Yim, Eileen Y. L.            Discovery                                        $550.00      18.50        $10,175.00
Non Legal Personnel Total                                                                2,493.70    $1,087,568.00
GRAND TOTAL                                                                             19,595.20   $26,877,397.90

        * Zero rate appears wherever no fee was charged for work.
        ** 50% rate appears where time is charged for non-working travel.
                                            Blended Hourly Rate: $1,371.63




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